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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      )       CHAPTER 13
                                            )
HARRY JAMES FREESE                          )       CASE NO. 17-56755-pwb
                                            )
                       Debtor.              )

               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
        COMES NOW, ALBERTELLI LAW, attorneys for THE BANK OF NEW YORK
MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE FOR THE
CERTIFICATEHOLDERS OF CWALT, INC., ALTERNATIVE LOAN TRUST 2005-56,
MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-56, hereby enters it Notice of
Appearance in the above-styled action. In accordance with Rule 2002 of the Bankruptcy Rules
and Section 1109(b) of the Bankruptcy Code, the undersigned hereby request notice in regard to
the following property:

        Property Address: 1270 Keans Court, Roswell, Georgia 30075

        Last Four Digits of Loan Number: 9384

         The undersigned respectfully requests the following to be added to the Court’s Mailing

Matrix in according to Rule 2002(g).

                                                  /s/ Cory P. Sims      _______________
                                                  Cory P. Sims, Esquire
                                                  Georgia Bar No. 701802
                                                  JAMES E. ALBERTELLI, P.A.
                                                  D/B/A ALBERTELLI & WHITWORTH, P.A.
                                                  100 Galleria Parkway, Suite 960
                                                  Atlanta, Georgia 30339
                                                  Telephone: (813) 221-4743 ext. 1947
                                                  Facsimile: (813) 221-9171
                                                  Email: bkga@albertellilaw.com
                                                  Alternate: csims@alaw.net
                                                  Attorney for Creditor




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 27th day of September, 2018, I caused a true and

correct copy of the foregoing to be served via regular mail or via the Court’s ECF service upon

the following parties:

SERVICE LIST

Harry James Freese
1270 Keans Ct.
Roswell, GA 30075

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

Ryan J. Williams
Nancy J. Whaley
Standing Chapter 13 Trustee
303 Peachtree Center Avenue
Suite 120
Atlanta, GA 30303

Mary Ida Townson
Chapter 13 Trustee
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740

Brandi L. Kirkland
Mary Ida Townson, Ch. 13 Trustee
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740

United States Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303


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                                          /s/ Cory P. Sims      _______________
                                          Cory P. Sims, Esquire
                                          Georgia Bar No. 701802
                                          JAMES E. ALBERTELLI, P.A.
                                          D/B/A ALBERTELLI & WHITWORTH, P.A.
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                                          Facsimile: (813) 221-9171
                                          Email: bkga@albertellilaw.com
                                          Alternate: csims@alaw.net
                                          Attorney for Creditor




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